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1               IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
2                         FLORENCE DIVISION
3       Jonathan Lewis,            )
                                   )
4              Plaintiff,          )
                                   )
5                                  )
               vs.                 ) C/A NO.: 4:23-cv-01720-JD
6                                  )
                                   )
7       Circle K Stores, Inc.,     )
                                   )
8                   Defendant.     )
        _________________________
9
        VIDEOTAPED
10      DEPOSITION OF:             NATHANIEL EVANS, M.D.
11      DATE:                      July 18, 2024
12      TIME:                      12:18 p.m.
13      LOCATION:                  OrthoSC
                                   210 Village Circle Drive
14                                 Suite 200
                                   Myrtle Beach, South Carolina
15
        TAKEN BY:                  Counsel for the Plaintiff
16
        REPORTED BY:               Michele L. Owens
17
        VIDEOGRAPHER:    Jon Landau
18      ___________________________________________________
19
20
21
22
23
24
25

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1       slipped, and injured his leg.                        He was seen
2       originally, I think, at McLeod Seacoast in the
3       emergency department, had X-rays, and they sent him
4       home.     And then we were concerned, in the office,
5       about a patellar tendon rupture based on his
6       physical exam and his presentation.
7                 Q.       And I believe it was your PA, but when
8       you see a new patient like Jonathan, do you take
9       what's called an HPI?
10                A.       Yeah, a history of present illness.
11      Yeah, kind of the, basically, why is the patient
12      here.     That's kind of a summary of...
13                Q.       And is determining, I guess, why the
14      patient is there, is that part of your -- part of
15      the information that you need to make an
16      appropriate diagnosis of the injury?
17                A.       Yes.
18                Q.       And it's my understanding that
19      Mr. Lewis did give, at least to your PA, sort of a
20      history of what had happened to him; is that
21      correct?
22                A.       Yes.
23                Q.       And do you have Mr. Lewis' HPI from
24      October 25th?           Do you have that in front of you so
25      that you would be able to read it for us?

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1                 A.       Yeah.       It says [reading]:                  38-year-old
2       male at this time comes in with right knee pain on
3       10/20/2022.         He was in a local gas station,
4       slipped, and felt a pop in right leg.                              Patient was
5       taken to McLeod ER where he had X-rays and then was
6       discharged.         Patient comes in today with knee
7       pain for evaluation.                 Patient is having difficulty
8       walking and unable to do a straight leg raise.
9                 Q.       Great.        Now, Dr. Evans, in your
10      records, do you happen to have the Horry County
11      Fire and Rescue EMS notes?
12                A.       I don't believe so.
13                Q.       Okay.       I'm going to -- I'm going to
14      read in a position, and, again, my understanding is
15      when the paramedics arrived, they also complete
16      sort of an HPI, a history of present illness; is
17      that right?
18                A.       Yes.      My guess is that's for the ER?
19      Or that's when he went to the ER visit?
20                Q.       Yes, that's correct.                   And the date of
21      his ambulance ride was October 19th, 2022, and I'm
22      not going to read the whole thing.                            But I'm going
23      read where it says PT [reading]:                          Patient states
24      they felt a pop in their knee which caused them to
25      fall and are not experiencing pain in the leg.

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1       right knee pain occurred after he slipped on a wet
2       floor at a gas station just prior to arrival.
3       Patient states that he has Lexuss -- or split side
4       to side -- I'm not sure what that says.
5                          [Reading] His right big toe got caught
6       on the floor, and he twisted his right knee.
7       Patient denies hitting his head or back and does
8       not have any pain except his right knee.
9                 Q.       Thank you, Doctor.
10                         Can you, I understand -- and so what
11      did you end up diagnosing Mr. Lewis with?                               What was
12      the specific injury you believe he suffered?
13                A.       A patellar tendon rupture.
14                Q.       Am I correct that a patellar tendon
15      rupture could either be acute or chronic; is that
16      correct?
17                A.       A chronic patellar tendon rupture would
18      be incredibly rare.
19                Q.       Okay.
20                A.       It's almost exclusively acute.                         It's
21      almost exclusively from an injury.                            You may have
22      weakness or something on a patellar tendon, but
23      it's more likely your quadricepts tendon that may
24      predispose you to have injury, but it's almost
25      always an acute injury.

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1                 Q.       And it's my understanding that a
2       patellar tendon can tear or rupture when there is a
3       forceful indirect contraction of the quadricepts
4       tendon; is that correct?
5                 A.       Sure, yeah.            Basically, if somebody's
6       knee bends really quickly, it can rupture the
7       patellar tendon.
8                 Q.       And would a person who maybe
9       unexpectedly slips or their foot turns one way or
10      their knee turns another way, is that a common
11      cause of a ruptured patellar tendon?
12                         MR. HOLT:          Objection, leading.
13                         Go ahead, Doctor.
14                A.       Yes, that would be a common mechanism,
15      something where your knee bends quickly or
16      unexpectedly.           We will see it in, like, skiing
17      injuries or something like that, if somebody's ski
18      gets caught and the foot turns one way and the leg
19      goes the other way, that type of picture of why
20      your patellar tendon might rupture.
21                Q.       Would maybe an event like a missed
22      step, could that also be -- or could that also
23      cause a patellar tendon rupture?
24                         MR. HOLT:          Same objection.
25                A.       Yeah.       So I think -- usually there

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1       might have to be something a little bit more to go
2       with it, so falling down.                    Somebody just missing
3       the last step -- it would probably be as they are
4       falling that potentially their patellar tendon
5       ruptures, but just skipping over one step or
6       stumbling a little bit, maybe not as much.
7       BY MR. SANDEFUR:
8                 Q.       Does the patellar tendon, for it to
9       tear or rupture, does it require a pretty
10      significant amount of --
11                A.       Yeah, and I think that's what I'm
12      indicating there is, that it would take a little --
13      a descent bit of force to cause it to rupture.
14                Q.       Based on what we just talked about,
15      about what would potentially cause a patellar
16      tendon to rupture and the history of present
17      illness given by Mr. Lewis, do you have an opinion
18      as to whether or not Mr. Lewis' patellar tendon was
19      an acute event?
20                A.       I think it was, yes.
21                Q.       Is hearing a pop when someone ruptures
22      their patellar tendon, is that pretty common?
23                A.       Yeah, I think people feel some sort of
24      sensation that something is torn or ruptured or
25      something is not quite right.

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1                 Q.        Is there anything that you see in
2       Mr. Lewis' records or based on your history or
3       training or education and your experiences, does
4       this seem to be a situation where Mr. Lewis'
5       patellar tendon just spontaneously gave out?
6                 A.        No.
7                 Q.        Would you expect a person with no
8       issues ambulating to suddenly have their patellar
9       tendon rupture or tear?
10                          MR. HOLT:            Objection, misstates the
11      facts in evidence.
12                          You may answer, Doctor.
13                A.        No.
14      BY MR. SANDEFUR:
15                Q.        And to -- or is it your opinion that
16      Mr. Lewis suffered an acute injury to his right
17      patellar tendon?
18                A.        Yes.
19                Q.        And is that opinion to a reasonable
20      degree of medical probability?
21                A.        Yes.
22                Q.        Can you tell us, in layman's terms,
23      what happens when an individual ruptures their
24      patellar tendon?
25                A.        Are you asking about how do we treat,

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1       or are you asking about the biomechanics of what
2       happens to the tendon?
3                 Q.       The biomechanics.                 What does that
4       tendon do?         How does that affect someone who has
5       ruptured their patellar tendon?
6                          MR. HOLT:          I'll object.             He's not been
7       qualified as a biomechanics expert.
8                          But you can go ahead and answer,
9       Doctor.
10                A.       Sure.       So the patellar tendon, if you
11      think of this as the knee [indicating], the tendon
12      comes in and inserts on the top of the tibia, or
13      shinbone basically, and that tendon, through its
14      attachment, helps elevate the lower leg, so
15      basically straighten out your knee.                            So if that
16      connection is disconnected, if the tendon is
17      ruptured, you would be unable to straighten out
18      your knee; and so when sitting in a chair trying to
19      lift your foot off the ground, you'd be unable to
20      do that; or even walking, you would be unable to
21      swing your leg out straight to be able to extend it
22      to plant for your next step, so...
23      BY MR. SANDEFUR:
24                Q.       So I'm assuming that having a ruptured
25      tendon, would that interfere greatly with a

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1       person's ability to --
2                 A.       Yeah.       You wouldn't be able to walk.
3       You wouldn't be able to get up and down out of a
4       chair.     You wouldn't be able to do much of
5       anything.
6                 Q.       Did you -- what was the diagnosis that
7       you gave Mr. Lewis after he came to see you in
8       October?
9                 A.       Patellar tendon rupture.
10                Q.       And did you perform any medical
11      procedures on Mr. Lewis?
12                A.       Yeah.       We obtained an MRI to confirm
13      the diagnosis, but also scheduled him for surgery
14      for basically the repair of the patellar tendon
15      rupture.        Yeah.       We also were going to place him in
16      an external fixator, which is pins and bars to help
17      stabilize the knee.                For him, that's a little bit
18      of an unusual part of the case.
19                         Usually we put somebody in a splint.
20      Mr. Lewis is a fairly large individual, so I was
21      concerned that, number one, we quite frankly
22      wouldn't have any braces that would fit him; and so
23      it would be hard to stabilize and protect that
24      repair, because you can basically reattach the
25      tendon back down to the bone, but then it needs

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1                 A.       Based on this report, I mean, this is
2       basically the EMS or firefighter or paramedic --
3       whoever wrote this, this is their -- this is their
4       assessment of what the patient told them.                                I have
5       no reason to doubt that.
6                 Q.       And, Doctor, do you have any reason to
7       doubt that the pop Mr. Lewis heard preceded him
8       falling?
9                 A.       I think -- I think it would be unusual
10      to have your knee just pop randomly and then fall
11      down.     Usually, your knee is going to be in a
12      position that is stressed, is seeing increased
13      stress on the knee.                Patellar tendons don't just
14      rupture spontaneously.                   I'm not worried that as I'm
15      walking around today my patellar tendon is going to
16      pop.     That's usually not something that happens.
17                         So I think the way it's recorded, that
18      somebody is having a fall or somebody is going
19      through an injury, the timing is so instantaneous
20      that it's hard for the patients, I think, to
21      determine the sequence of events going on, when
22      it's milliseconds that are separating them.
23                Q.       Have you heard of something called
24      forced extension against fixed flexion?
25                A.       Forced extension, yeah, I mean, like

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